            Case 1:12-cr-00365-AWI-BAM Document 23 Filed 11/14/12 Page 1 of 3


     E. MARSHALL HODGKINS #76796
 1   ATTORNEY AT LAW
     1186 W. SHAW, STE. 103
 2   FRESNO, CA 93711
     emhlaw@aol.com
 3   TELEPHONE: 559-248-0900
     FACSIMILE: 559-248-0901
 4

 5   Attorney for Defendant, PEO XAYPHENGSY
 6

 7                                 UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
                                                    )       Case No.: 1:12-MJ-00244-GSA
10   THE UNITED STATES OF AMERICA,                  )
                                                    )       WAIVER OF APPEARANCE AND
11                   Plaintiff,                     )       ORDER THEREON
                                                    )
12          V.                                      )
                                                    )
13                                                  )
                                                    )       DATE: November 26, 2012
14   PEO XAYPHENGSY                                 )       TIME: 1:00 p.m.
                                                    )       PLACE: Honorable Dennis L. Beck
15                   Defendant.                     )
                                                    )
16                                                  )
                                                    )
17                                                  )
18          Defendant, PEO XAYPHENGSY, hereby waives her right to be present in open court
19   upon the hearing presently set for November 26, 2012 at 1:00 p.m. in Courtroom Three of the

20   above entitled court.
            Defendant hereby requests the court proceed during every absence of which the court
21
     may permit pursuant to this waiver; agrees that her interests will be deemed represented at all
22
     times by the presence of her attorney, E. MARSHALL HODGKINS, the same as if the defendant
23   was personally present; and further agrees to be present in person in court ready for trial any day
24   and hour the court may fix in her absence.

25



                                                        1
           Case 1:12-cr-00365-AWI-BAM Document 23 Filed 11/14/12 Page 2 of 3


            Defendant further acknowledges that she has been informed of their rights under Title 18,
 1
     United States Code, Section 3161-3174 (Speedy Trial Act), and authorizes their attorney to set
 2
     times and delays under the Act without the defendant being present.
 3

 4
     Dated: _________________                                   ________________________K
 5                                                              PEO XAYPHENGSY
                                                                Defendant
 6

 7
                                                                Respectfully submitted,
 8

 9
     Dated: _________________                                   __/s/ E. Marshall Hodgkins__
10                                                              E. MARSHALL HODGKINS
                                                                Attorney for Defendant
11                                                              PEO XAYPHENGSY

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                                    2
                             Case 1:12-cr-00365-AWI-BAM Document 23 Filed 11/14/12 Page 3 of 3



 1                                                         ORDER
 2

 3
                              IT IS HEREBY ORDERED that Defendant PEO XAYPHENGSY is hereby excused
 4   from appearing at the court hearing scheduled for November 26, 2012 at 1:00 p.m. and any other
 5   court hearing except as ordered by the court or his attorney.

 6
     IT IS SO ORDERED.
 7

 8                         Dated:   November 13, 2012                    /s/ Dennis L. Beck
                                                                  UNITED STATES MAGISTRATE JUDGE
 9
     DEAC_Signature-END:




     3b142a
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25



                                                              3
